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                       EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

 IGNACIO LOZANO                                        §
               Plaintiff,                              §
                                                       §
 v.                                                    §          CASE NO. _______________
                                                       §
 STATE FARM LLOYDS                                     §
               Defendant.                              §



                          INDEX OF MATTERS BEING FILED
                        AND LIST OF ALL COUNSEL OF RECORD


        Defendant State Farm Lloyds (“Defendant”) submits this Index of Matters Being Filed and

List of All Counsel of Record pursuant to Local Rule 81 of the United States District Court for the

Southern District of Texas. Pursuant to the Local Rule 81, the following items are being filed

with the Notice of Removal filed by Defendant:

        1.     Index of Matters Being Filed and List of All Counsel of Record;

        2.     Copies of all executed process, pleadings asserting causes of action and all orders

               signed by the state judge as follows:

               A.     Plaintiff’s Original Petition, filed March 21, 2019 (attached as Exhibit 1-
                      A);

               B.     Service to State Farm Lloyds on March 7, 2019 (attached as Exhibit 1-B);

               C.     Defendant’s Original Answer, filed April 16, 2019 (attached as Exhibit 1-
                      C);

        3.     A copy of the state court docket sheet (attached as Exhibit 1-D).




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The parties’ respective attorneys are as follows:

               A.      ATTORNEYS FOR PLAINTIFF:
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                       McAllen, Texas 78504
                       Phone: 956-631-0745

               B.      ATTORNEYS FOR DEFENDANT:
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                       RAMÓN | WORTHINGTON, PLLC
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                       Phone: 956-294-4800
                       ATTORNEY IN CHARGE FOR DEFENDANT

                       Of Counsel:
                       Sofia A. Ramon
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                       Phone: 956-294-4800

Dated: April 17, 2019.




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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19561349
Notice of Service of Process                                                                            Date Processed: 03/27/2019

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Lloyds
                                              Entity ID Number 3461674
Entity Served:                                State Farm Lloyds
Title of Action:                              Ignacio Lozano vs. State Farm Lloyd's
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Webb County District Court, TX
Case/Reference No:                            2019CVK000528D1
Jurisdiction Served:                          Texas
Date Served on CSC:                           03/27/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           J. Michael Moore
                                              956-631-0745

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                      EXHIBIT 1-C
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                                                                                               4/16/2019 10:07 AM
                                                                                                  Esther Degollado
                                                                                                      District Clerk
                                                                                                      Webb District
                                CAUSE NO. 2019CVK000528D1                                           Michelle Garza
                                                                                               2019CVK000528D1

IGNACIO LOZANO                                §              IN THE DISTRICT COURT
     Plaintiff.                               §
                                              §
vs.                                           §              49TH JUDICIAL DISTRICT
                                              §
STATE FARM LLOYDS                             §
     Defendant.                               §              WEBB COUNTY, TEXAS

      DEFENDANT’S ORIGINAL ANSWER, VERIFIED DENIALS, AFFIRMATIVE
                   DEFENSES AND PLEA IN ABATEMENT

         NOW COMES Defendant State Farm Lloyds (“State Farm”) and files this Original

Answer, Verified Denials, Affirmative Defenses and Plea in Abatement and would show the

Court as follows:

                                            I.
                                      GENERAL DENIAL

1.       Reserving the right to file other further pleadings, exceptions and/or denials, Defendant

generally denies each and every material allegation contained in Plaintiff’s Original Petition and

demands strict proof thereof in accordance with the law and the Texas Rules of Civil Procedure.

                                     II.
            VERIFIED DENIAL, DEFENSES AND AFFIRMATIVE DEFENSES

2.       Defendant denies that notice and/or proof of loss or claim for damages has been given as

required by the Texas Insurance Code. Specifically, Plaintiff has failed to provide notice as

required by TEX. INS. CODE §541.154 and §542A.003. Specifically, Plaintiff sent State Farm a

letter that failed to comply with Section 542A.003(b) because (1) Plaintiff failed to provide State

Farm sufficient notice of the specific facts that give rise to Plaintiff’s complaint, (2) Plaintiff

failed to provide the specific amount alleged to be owed, but instead states that the damages owed

range from $26,571.24 - $69,817.34 and the actual damages sought at trial will likely increase,

(3) Plaintiff also failed to provide the hourly rate and number of hours used to calculate the
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claimed amount of reasonable and necessary attorney’s fees incurred by the claimant. TEX. INS.

CODE §542A.003

3.       Plaintiff also failed to timely provide the statutorily required notice to Defendant prior to

filing this lawsuit, as he failed to serve them with notice of the specific complaint and the amount

of actual damages and expenses, including attorney’s fees reasonably incurred in asserting the

claim against the other person. TEX. INS. CODE §541.154.

4.       Defendant denies Plaintiff has performed the conditions precedent to bringing suit.

5.       Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it violated

Chapter 541 of the Texas Insurance Code as alleged by Plaintiff.

6.       Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it violated

Chapter 542 of the Texas Insurance Code as alleged by Plaintiff.

7.       Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it knowingly

violated Chapter 541 or 542 of the Texas Insurance Code as alleged by Plaintiff.

8.       Pursuant to Texas Rule of Civil Procedure 54, Defendant specifically denies it

intentionally violated Chapter 541 or 542 of the Texas Insurance Code as alleged by Plaintiff.

9.       Plaintiff’s claim was properly adjusted in compliance with the applicable policy of

insurance and applicable statutes.

10.      Because Plaintiff failed to satisfy one or more conditions precedent to recovery, Defendant

State Farm is excused from performing under the contract.

11.      Accordingly, Plaintiff has no cause of action against Defendant for which relief can be

granted. Such failures include, but are not limited to the following: Plaintiff’s failed to promptly

notify Defendant about some or all of the alleged damages, Plaintiff has specifically failed to




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prove his alleged damages are losses covered under the policy and/or he has failed to segregate

the portion of his alleged damages that are covered from the portion that is not covered.

12.      To the extent that Plaintiff prays for exemplary damages, Defendant invokes its rights

under the due process clause of the Fifth Amendment of the United States Constitution as applied

to the states through the Fourteenth Amendment of the United States Constitution. Defendant

affirmatively pleads that Plaintiff’s pleading of exemplary damages violates the due process

clauses of the Fifth and Fourteenth Amendments inasmuch as exemplary damages can be

assessed:

            a. In an amount left to the discretion of the jury and judge;

            b. In assessing such penalty or exemplary awards, Plaintiffs need only prove
               the theory of gross negligence on a “clear and convincing evidence”
               standard and not “beyond a reasonable doubt” standard as should be
               required in assessing a punishment award;

            c. The assessment of such a punishment and/or exemplary award is not based
               upon a clearly defined statutory enactment setting forth a specific means
               requirement and/or the prerequisites of criminal fine and in effect, allows
               the assessment of such awards even though there are no special standards,
               limits or other statutory requirements set forth that define the means and
               scope and limit of such awards. Therefore, the awards are unduly vague
               and do not meet the requirements of due process; and

            d. In essence, Defendants are subject to all of the hazards and risks of what
               amounts to a fine, and in fact, such awards often exceed normal, criminal
               fines, but Defendants receive none of the basic rights afforded to a criminal
               when being subjected to possible criminal penalties.

13.      To the extent Plaintiff prays for punitive, exemplary, or otherwise enhanced damages,

such request should be denied because it violates the equal protection rights guaranteed by the

Fifth and Fourteenth Amendments to the Constitution of the United States and the provisions of

the Eighth Amendment to the Constitution of the United States.




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14.      With respect to Plaintiff’s claims for damages, any award of punitive damages must be

limited to the greater of: (1) two times the amount of economic damages plus an amount equal to

any non-economic damages found by the jury, not to exceed $750,000; or (2) $200,000, pursuant

to the statutory mandates of Chapter 41 of the Texas Civil Practice & Remedies Code. Defendant

reserves the right to seek a bifurcation of any punitive damage issues at the trial of this case as

permitted by Chapter 41 of the Texas Civil Practice & Remedies Code.

15.      Plaintiff’s claims under Section 542 of the Texas Insurance Code (“Prompt Payment of

Claims”) are barred, in whole or in part, because Plaintiff did not provide sufficient written notice

of claim reasonably apprising Defendant of the facts relating to the claim.

16.      Plaintiff attempts to state claims and seek damages for alleged violations of the Texas

Insurance Code, but Plaintiff has failed to comply with the statutorily mandated conditions in

order to obtain any relief under the statute. Specifically, Chapter 541 and 542A of the Texas

Insurance Code requires, as a prerequisite to bringing any action for damages, that a complaining

party give appropriate written notice to a defending party at least sixty (60) days before filing

suit. Plaintiff’s pre-suit notification or demand must meet specific requirements set forth in the

statute and provide Defendant sixty (60) days to respond prior to bringing any suit. See TEX. INS.

CODE §541.154(a) and §542A.003. Plaintiff has failed to provide the Defendant notice as required

by Chapter 541 and 542A of the Texas Insurance Code.

17.      Under the Insuring Agreement, Plaintiff bears the burden to prove damage resulting from

an occurrence of accidental, direct, physical loss to the insured property during the policy period.

Plaintiff lacks proof that any additional damages resulted from any accidental, direct, physical

loss during the policy period.

18.      Defendant is entitled to an offset or credit against Plaintiff’s damages, if any, in the




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amount of Plaintiff’s $1,000.00 deductible.

19.      Defendant is entitled to an offset or credit against Plaintiff’s damages, if any, in the

amount of all payments Defendant State Farm has made to or on behalf of Plaintiff under the

policy at issue in this lawsuit, arising from the claim made the basis of this lawsuit.

20.      Defendant’s liability, if any, is limited to the amount of the policy limits under the policy

at issue in this suit, and/or any other clauses contained in the policy sued upon.

21.      Plaintiff’s claims are barred, in whole or in part, to the extent certain damages and losses

as alleged in Plaintiff’s Original Petition, or latest live pleading, none being admitted, were

22.      proximately caused in whole or in part by non-covered losses and/or events, including but

not limited to the following:

                         SECTION I- LOSSES NOT INSURED

         1. We do not insure for any loss to the property described in Coverage A which
            consists of, or is directly and immediately caused by, one or more of the
            perils listed in item a. through n. below, regardless of whether the loss occurs
            suddenly or gradually, involves isolated or widespread damage, arises from
            natural or external forces or occurs as a result of any combination of these:

                g.      wear, tear, marring, scratching, deterioration, inherent vice, latent
                defect or mechanical breakdown;

                i.      wet or dry rot.


23.      Defendant hereby asserts all conditions of the policy at issue including but not limited to

all terms, deductibles, limitations on coverage, exclusions set out in the Policy.

24.      A bona fide/legitimate dispute exists precluding Plaintiff from recovery of damages under

extra-contractual theories including the common law duty of good faith and fair dealing,

violations of the Texas Insurance Code, or under any other statutory or common law authority.

25.      Texas Civil Practice and Remedies Code §41.001, et. seq., applies and punitive damages




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awarded, if any, are subject to the statutory limit set forth therein, other applicable statutory

authority, and common law. Further, unless Plaintiff proves Defendant’s liability for punitive

damages, and the amount of punitive damages, if any, by clear and convincing evidence, any

award of punitive damages would violate Defendant’s due process rights guaranteed by the

Fourteenth Amendment to the United States Constitution and by Section 19 of Article 1 of the

Texas Constitution.

                                                         III.

                                                  TRCP 193.7 NOTICE
26.           Pursuant to Texas Rules of Civil Procedure 193.7, any and all documents produced by

Plaintiff in response to Defendant’s written discovery are intended to be used by Defendant and

shall be deemed as properly authenticated for use against Plaintiff in any pretrial proceeding or

trial of this case.

                                                         IV.
                                             VERIFIED PLEA IN ABATEMENT

A.            INTRODUCTION AND BACKGROUND FACTS

27.           On March 21, 2019, 2019, Plaintiff Ignacio Lozano filed an Original Petition against

Defendant State Farm. Plaintiff’s Original Petition asserts causes of action against State Farm

based upon their handling of Claim No. 53-0530-P52, a claim for damage to the Plaintiff’s

property located at 607 Bayonne Lane, Laredo, Texas, as a result of a storm that occurred on or

about May 21, 2017 1.

28.           Plaintiff’s Original Petition seeks damages based on an alleged breach of the insurance

contract and alleged violations of the Texas Insurance Code, §541 and §542. Id.




1
    See Plaintiff’s Original Petition, ¶9.



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29.         However, Plaintiff filed his Original Petition without providing Defendant the statutory

notice required by the Texas Insurance Code. Specifically, Plaintiff sent State Farm a letter that

failed to comply with Section 542A.003(b) because (1) Plaintiff failed to provide State Farm

Lloyds sufficient notice of the specific facts that give rise to Plaintiff’s complaint, (2) Plaintiff

failed to provide the specific amount alleged to be owed, but instead states that the damages owed

range from $26,571.24 - $69,817.34 and the actual damages sought will likely increase, (3)

Plaintiff also failed to provide the hourly rate and number of hours used to calculate the claimed

amount of reasonable and necessary attorney’s fees incurred by the claimant.

30.         After Plaintiff filed suit and had Defendant served, Defendant filed its Original Answer

on April 19, 2019. Abatement of this action is mandatory under TEX. INS. CODE § 542A.005(b),

because Plaintiff failed to comply with Section 542A.003(b), and Defendant has timely filed this

Verified Plea in Abatement less than 30 days after they filed their Original Answer.

B.          ARGUMENT AND AUTHORITIES

31.         Texas House Bill 1774, which added Chapter 542A to the Texas Insurance Code, became

effective for actions filed on or after September 1, 2017. TEX. INS. CODE § 542A.001, et seq.

Chapter 542A applies to a “first-party claim . . . made by an insured under an insurance policy

providing coverage for real property or improvements to real property . . . [that] arises from

damage or loss of covered policy caused, wholly or partly, by forces of nature, including . . . hail,

wind, . . . or a rainstorm.” TEX. INS. CODE § 542A.001(2)(A) & (C). Because Plaintiff’s action

was filed after September 1, 2017 and asserts first party insurance claims arising from hurricane

damage 2 that allegedly damaged Plaintiff’s residential property, Chapter 542A applies. 3




2
    Plaintiff’s Original Petition at Section 5 ¶ 9.
3
    Texas Insurance Code §542A.


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32.      In accordance with Texas Insurance Code Section 542A.003, any “person” 4 against whom

or which an action is filed to recover damages is entitled to written notice of each claimant’s

specific complaints against them, the alleged amount of actual damages being sought, and a

calculation of attorney’s fees purportedly incurred by the claimant as reflected in

contemporaneously-kept time records not later than the 61st day before the suit is filed. TEX. INS.

CODE § 542A.003 specifically provides:

         (a) In addition to any other notice required by law or the applicable insurance
             policy, not later than the 61st day before the date a claimant files an action to
             which this chapter applies in which the claimant seeks damages from any
             person, the claimant must give written notice to the person in accordance with
             this section as a prerequisite to filing the action.

         (b) The notice required under this section must provide:

                  (1) a statement of the acts or omissions giving rise to the claim;

                  (2) the specific amount alleged to be owed by the insurer on the claim for
                      damage to or loss of covered property; and

                  (3) the amount of reasonable and necessary attorney’s fees incurred by
                      the claimant, calculated by multiplying the number of hours actually
                      worked by the claimant’s attorney, as of the date the notice is given
                      and as reflected in contemporaneously kept time records, by an
                      hourly rate that is customary for similar legal services.

         Id. (emphasis added). Additionally, if the claimant’s attorney provides the notice, the

attorney must also provide a copy of the notice to the claimant and state in the notice that notice

was provided to the claimant. TEX. INS. CODE §542A.003(c).

33.      Giving proper notice under Chapter 542A of the Texas Insurance Code does not relieve a

claimant of her “obligation to give notice under any other applicable law.” TEX. INS. CODE

§542A.001(f). Thus, providing the notice required by §542A.003 does not relieve a Plaintiff from



4
  As defined by Chapter 542A, “‘person’ means a corporation, association, partnership, or other legal entity or
individual.” TEX. INS. CODE § 542A.001(5).


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providing the notice required by Section 541.154 of the Texas Insurance Code, which contains a

similar notice requirement.

34.      Giving timely and proper written notice prior to asserting legal claims under the Texas

Insurance Code is no mere formality. The Texas courts of appeals have repeatedly recognized

the purpose of statutory pre-suit notice requirements are to discourage litigation and encourage

settlements of complaints by insureds against their insurer. See, e.g., In re Cypress Tex. Lloyds,

437 S.W.3d 1, 7 (Tex. App. – Corpus Christi 2011, orig. proceeding).

35.      Furthermore, the pre-suit notice requirement of the Texas Insurance Code is important

because it provides the person who is entitled to proper notice, whether an insurance company or

an insurance adjuster, an opportunity “to limit his [or its] damage exposure through an offer of

settlement, as contemplated by sections 541.156-.159 of the Insurance Code.” In re Behr, 2006

WL 468001 at *2-3 (Tex. App. – San Antonio 2006, orig. proceeding) (mem. op.); see TEX. INS.

CODE §§ 541.156-541.159. Timely statutory notice also provides the recipient with a statutory

window in which to demand an inspection of the property that is the subject of the claim. TEX.

INS. CODE § 542A.004. 5 The statutory opportunity to demand a property inspection allows the

insurer to investigate, and possibly resolve, the insured’s dispute without the necessity of

litigation. Compare TEX. INS. CODE § 542A.005(b) (court may abate action to allow property

inspection) and § 542A.005(f) (court may not compel participation in an alternative dispute

resolution proceeding until after the abatement period has expired).

36.      Plaintiff failed to provide the proper pre-suit notice. While Counsel for Plaintiff sent State

Farm a letter dated June 12, 2018 that purports to comply with Section 542A of the Texas



5
  If an inspection of the property is requested under Texas Insurance Code Section 542A.004, but the party requesting
the inspection is not provided a reasonable opportunity to inspect, photograph, or evaluate the property, abatement
is also required. TEX. INS. CODE § 542A.004(b)(2).


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Insurance Code, the letter failed to meet the requirements of the Texas Insurance Code in at least

three material respects.

37.      First, Plaintiff has failed to provide State Farm Lloyds with sufficient notice of the specific

facts that give rise to Plaintiff’s complaint. Section 542A.003(b)(1) states the notice must provide

“a statement of the acts or omissions giving rise to the claim.” The Insurance Code requires

Plaintiff to set forth specific factual allegations to support her complaint; conclusory allegations

and recitations of boilerplate complaints do not meet the requisite standard. C.f. Nationwide Prop.

& Cas. Ins. Co., No. H-10-1651, 2010 WL 2636119 at *1-2. (S.D. Tex. 2010).

38.      However, Plaintiff’s “statement of acts/omissions giving rise to the claim” consists almost

entirely of boilerplate complaints. See Exhibit A at page 3 and 4. For example, Plaintiff describes

the claim in general terms with stating how State Farm misrepresented facts or failed to discuss

pertinent facts or policy provisions with Plaintiff. See id. Further, Plaintiff does not identify any

specific damages to her property that give rise to his claim. Instead, Plaintiff provides only vague

factual assertions that fall well short of the notice required by the Insurance Code. See, e.g., id. at

3 (“the property was damaged extensively by a severe storm; id.

39.      Second, Plaintiff has failed to provide the specific amount alleged to be owed. Section

542A.003(b)(2) states the notice must provide “the specific amount alleged to be owed by the

insurer on the claim for damage to or loss of covered property.” While Plaintiff lists a range

between $19,364.74-$58,094.22 in actual damages (less any amounts [State Farm] paid, if any,

and any applicable deductible),” he goes on to state in the next paragraph that “we do not yet

know the full extent of damages.” Exhibit A at 9. Plaintiff’s letter also states “the damages set

out herein will likely increase. In other words, Plaintiff expressly states in his notice that the

specific amount owed of economic damages is not the range of $19,369.74-$58,094.22, but




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instead a larger (and perhaps much larger) number. Plaintiff states the damages amount is

preliminary because “[his] investigation is not complete.” Id. Once Plaintiff’s investigation is

complete, she should be able to comply with the requirements of the Texas Insurance Code. Until

then, abatement is necessary.

40.       Third, Plaintiff has failed to provide the amount of reasonable and necessary attorney’s

fees he has incurred. Section 542A.003(b)(3) states Plaintiff must identify the amount of

attorney’s fees “incurred,” based on the hours his attorney “actually worked” “as of the date [of]

the notice” and substantiated by “contemporaneously kept time records.” See TEX. INS. CODE §

542A.003(b). However, immediately after seeking “$2,500.00 for attorney’s fees to date,”

Plaintiff states “[t]his amount does not represent the ‘reasonable and necessary’ fees that are owed

in this case.” Exhibit A at 8. Plaintiff also fails to state how many hours his attorneys actually

worked as of the date of the letter, and he fails to include the hourly rate applied to those services.

See id.

41.       Because Plaintiff failed to provide Defendant with the proper written notice under

Sections 542A.003 of the Texas Insurance Code and Section 541.154 of the Texas Insurance Code

before he filed suit, this lawsuit must be abated until the 60th day after the date a notice complying

with Texas Insurance Code Section 542A.003 and Texas Insurance Code 541.151 is provided.

See TEX. INS. CODE § 542A.005(e)(1); TEX. INS. CODE. § 541.155(d). Defendant State Farm

moves this Court to abate this lawsuit because of the lack of proper, compliant pre-suit notice, as

required under the Texas Insurance Code.

42.       As Defendant filed this Verified Plea in Abatement not later than the 30th day after they

filed their Original Answer, the abatement of this lawsuit is automatic beginning on the 11th day

after Defendant’s Verified Plea in Abatement is filed unless Plaintiff controverts by affidavit




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Defendant’s denial that the proper statutory notice was given before she filed suit. See TEX. INS.

CODE § 542A.005(c); TEX. INS. CODE. § 541.155(d).


                                             V.
                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant STATE FARM LLOYDS

prays that Plaintiff’s lawsuit and pending discovery be abated until the 60th day after the date

written notice is provided to Defendant in compliance with Section 542A.003 and 541.154 of the

Texas Insurance Code. Defendant also requests judgment of the Court that Plaintiff take nothing

by this suit, and that Defendant be awarded costs and such other and further relief to which they

may be justly entitled.

                                                     Respectfully submitted,

                                                     RAMÓN | WORTHINGTON, PLLC
                                                     900 Kerria Ave.
                                                     McAllen, Texas 78501
                                                     Telephone: 956-294-4800

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                                                     ATTORNEYS FOR DEFENDANT


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                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 16, 2019, a true and correct copy of the foregoing
document was served via e-File Texas.gov to the following:

      J. Michael Moore
      THE MOORE LAW FIRM
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      Counsel for Plaintiff


                                                       /s/ Dan K. Worthington
                                                           Dan K. Worthington




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                     EXHIBIT 1-D
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                                                               Register of Actions
                                                               Case No. 2019CVK000528D1

 IGNACIO LOZANO
VS.
STATE FARM LLOYDS                                         §                         Case Type:    All Other Civil Cases
                                                                              §                           Subtype:    Other
                                                                              §                         Date Filed:   03/21/2019
                                                                              §                           Location:   --49th District Court
                                                                              §
                                                                       Party Information
                                                                                                                           Attorneys
 Defendant         STATE FARM LLOYDS                                                                                       DAN K WORTHINGTON
                                                                                                                             Retained
                                                                                                                           956-294-4800(W)
  
 Plaintiff         LOZANO, IGNACIO                                                                                         J MICHAEL MOORE
                                                                                                                             Retained
                                                                                                                           9566310745 x8668660971(W)
                                                                  Events & Orders of the Court
             OTHER EVENTS AND HEARINGS
 03/21/2019  Civil Case Filed (OCA)
 03/21/2019 Atty Request - Issuance
             
               LETTER FROM ATTORNEY MOORE LAW FIRM IN RE: ISSUANCE
 03/21/2019 Original Petition
             
               PLAINTIFF'S ORIIGNAL PETITION AND FIRST SET OF DISCOVERY REQUEST. (AG)
 03/22/2019 Calendar Call
             
               CALENDAR CALL FAXED TO ATTORNEY MICHAEL MOORE. (AG)
 03/22/2019 Citation-Issuance
             
               (2) CITATIONS ISSUED AS TO STATE FARM LLOYDS AND SENT BY CERTIFIED MAIL ON 03/22/19. (AG)
 03/22/2019 Citation
             
                STATE FARM LLOYDS                                     Served                   03/27/2019
 04/01/2019 Citation Return-Executed
              RETURN RECEIPT SHOWING SERVICE AS TO STATE FARM LLOYDS BY SERVING CORPORATION SERVICE COMPANY SERVED
               ON 3/27/19
 04/16/2019 Answer-Defendant
             
               DEFENDANT'S ORIGINAL ANSWER, VERIFIED DENIALS, AFFIRMATIVE DEFENSES AND PLEA IN ABATEMENT
 06/04/2019  Calendar Call 
(1:30 PM)
(Judicial Officer Lopez, Jose A.)




http://publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=784897[4/17/2019 3:02:01 PM]
